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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

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KOREY FLOYD,             *
                         *                          No. 13-556V
             Petitioner, *                          Special Master Christian J. Moran
                         *
v.                       *
                         *                          Filed: March 2, 2017
SECRETARY OF HEALTH      *
AND HUMAN SERVICES,      *                          Redaction, adult petitioner.
                         *
             Respondent. *
*********************

      PUBLISHED ORDER DENYING MOTION FOR REDACTION 1

       On August 8, 2013, Korey Floyd filed a petition for compensation under the
National Childhood Vaccine Injury Compensation Program, codified at 42 U.S.C.
§ 300aa−10 through 34 (2012). Mr. Floyd alleged a neurological demyelinating
injury as a result of a trivalent influenza vaccine he received on October 18, 2012.
On May 2, 2016, the undersigned issued a decision based on the parties’ stipulation
awarding compensation to petitioner. On May 13, 2016, Mr. Floyd filed a motion
to redact, requesting his name be redacted throughout the published decision. For
the reasons explained below, this motion is DENIED.

                                        *       *      *

      Mr. Floyd cites “privacy reasons” as the primary reason for his request to
redact the decision awarding compensation. He states that, in addition to the
Vaccine Act warranting redaction, the Court of Federal Claims favors redaction for
privacy reasons when the privacy of the individual outweighs that of the

1 The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services), requires that the Court post this order on its website. Pursuant
to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing redaction of medical
information or other information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions
ordered by the special master will appear in the document posted on the website.
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government’s interest in public disclosure. Pet’r’s Mot. to Redact, filed May 13,
2016, at 2-3 (citing W.C. v. Sec’y of Health & Human Services, 100 Fed. Cl. 440
(2011)).

       The Secretary filed a response to the motion to redact. Resp’t’s Resp. to
Mot. to Redact, filed May 31, 2016. The Secretary asserted that the Vaccine Act
requires decisions of specials masters be disclosed and petitioners are aware of this
requirement when they file a petition. Id. at 3 (citing 42 U.S.C. § 300aa-
12(d)(4)(B)). The Secretary argues that without some special showing, redaction
would be inappropriate. Id. at 3-4.

      Mr. Floyd’s motion included a partial quote of the Vaccine Act, 42 U.S.C. §
300aa-12(d)(4)(B). Quoting the Vaccine Act, Mr. Floyd stated that the Vaccine
Act prohibits an invasion of privacy: “if the person who submitted such
information objects to the inclusion of such information in the decision . . . the
decision shall be disclosed without such information.” Pet’r’s Mot. to Redact, at 1.
The motion’s partial quotation of the Vaccine Act is misleading due to the
omission of preceding text which is crucial to interpreting the statute. See 42
U.S.C. § 300aa-12(d)(4)(B). Mr. Floyd’s reply to the Secretary’s response
corrected this omission. Pet’r’s Reply, filed June 17, 2016, at 2.

       Quoted as a whole, § 300aa-12(d)(4)(B), reads: “A decision of a special
master or the court in a proceeding shall be disclosed, except that if the decision is
to include information (i) which is trade secret or commercial or financial
information which is privileged and confidential, or (ii) which are medical files and
similar files the disclosure of which would constitute a clearly unwarranted
invasion of privacy, and if the person who submitted such information objects to
the inclusion of such information in the decision, the decision shall be disclosed
without such information.” Id.

       When the statute is read in its entirety, the conjunction “and” coordinates the
incomplete portion initially cited by Mr. Floyd with the important previous
requirements that the information be either a trade secret, privileged and
confidential financial information, or medical files or something similar that would
constitute an unwarranted invasion of privacy. Mr. Floyd’s motion does not
address how his name is any of these things identified as appropriate for redaction
under the Vaccine Act.

      Mr. Floyd also cites W.C. v. Sec’y of Health & Human Services, 100 Fed.
Cl. 440 (2011) extensively for support. The applicability of W.C. to the
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circumstances of this case was persuasively addressed in House v. Sec’y of Health
& Human Services, No. 99-406V, 2012 WL 402040 (Fed. Cl. Spec. Mstr. Jan. 11,
2012). Similar to the reasoning in House, Mr. Floyd has not pointed “to his
particular factual circumstances to show that the full disclosure of his vaccine
decision would constitute an unjustified invasion of his privacy.” Mr. Floyd makes
no showing, by reference to his own particular circumstances, how the disclosure
of the decision on his claim that he suffered a particular injury as a result of
receiving certain vaccines would “effect a ‘clearly unwarranted intrusion’ on his
privacy.” Id. at *6 n.15.

       The undersigned has discussed, in detail, the requirements for a petitioner to
satisfy the requirements to meet a specialized showing in K.O. v. Sec’y of Health
& Human Services, No. 13-472V, 2016 WL 7634492 (Fed. Cl. Spec. Mstr. Nov.
30, 2016). Here, Mr. Floyd has not made this argument nor has he submitted any
additional evidence to support some special showing as to why his name should be
redacted.

      For these reasons, Mr. Floyd’s motion is DENIED. Pursuant to Vaccine
Rule 18(b), the entire decision issued on May 2, 2016 will be made available to the
public.


      IT IS SO ORDERED.


                                              S/ Christian J. Moran
                                              Christian J. Moran
                                              Special Master




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